Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 1 of 7
Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 2 of 7
Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 3 of 7
Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 4 of 7
Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 5 of 7
Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 6 of 7
Case 2:22-cr-00011-LGW-BWC Document 443 Filed 09/14/23 Page 7 of 7
